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                       THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF LOUISIANA

P.B., by and through his next friend,                   )
Cassandra Berry, et al.                                 )
                                                        )
                                 Plaintiffs,            )
                                                        )   Case No. 2:10-cv-04049
         vs.                                            )   Hon. Jay C. Zainey
                                                        )
PAUL PASTOREK, et al.,                                  )
                                                        )
                                 Defendants.            )
                                                        )


        [PROPOSED] FIRST AMENDED JOINT CASE MANAGEMENT ORDER

               The parties propose the following First Amended Joint Case Management Order

for the Court’s consideration:

I.      INITIAL DISCLOSURES

        The parties shall exchange initial disclosures on June 15, 2011.

II.     SCOPE OF DISCOVERY

        Discovery shall proceed as to all issues raised by Plaintiffs’ Complaint.

III.    SCHEDULE FOR DISCOVERY (ON ALL ISSUES) AND CLASS
        CERTIFICATION PROCEEDINGS


         Defendants respond to Plaintiffs’          By June 10, 2011
         initial requests for production

         Document production will begin on July 17, 2011 and will be rolling.

         Defendants’ responsive brief on class      By August 16, 2011
         certification and any supporting
         material, including expert affidavits or
         reports

         Plaintiffs’ reply brief on class           September 23, 2011
         certification and any supporting
         material, including expert affidavits or



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         reports

         Parties exchange witness lists and             By September 30, 2011
         exhibits for class certification hearing

         Affirmative expert reports due (all            By October 28, 2011
         other issues)

         Status conference to discuss issues            November 1, 2011 at 2:30 p.m. in chambers
         pertaining to the class certification
         hearing and to select a date for a trial
         of the merits

         Rebuttal expert reports due (all issues)       By November 18, 2011

         Class Certification hearing                    November 30, 2011 at 10:00 am. (3 days
                                                        allotted)

         Expert depositions completed                   December 9, 2011




IV.     DISCOVERY OF ELECTRONICALLY-STORED INFORMATION

               The parties agree to produce their electronically stored information in accordance

with the following technical specifications:


        A.     PRODUCTION OF DOCUMENTS ORIGINATING AS PAPER


For documents that have originated in paper format, the following specifications should be used
for their production.

               1.      Images should be produced as single page TIFF group IV format
                       imaged at 300dpi.

               2.      Each filename must be unique and match the Bates number of the
                       page. The filename should not contain any blank spaces and
                       should be zero padded (for example ABC00000001).

               3.      Media may be delivered on CDs, DVDs or External USB hard
                       drives. Each media volume should have its own unique name and
                       a consistent naming convention (for example ZZZ001 or
                       SMITH001).


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             4.   Each delivery should be accompanied by an Opticon image link
                  file (.OPT).


             5.   A delimited text file (.DAT) that contains available fielded data
                  including, at a minimum, Beginning Bates Number, Ending Bates
                  Number and Number of Pages should be provided. The delimiters
                  for that file should be the standard Concordance delimiters.

                  a.     The first line in the metadata load file should be a header
                         containing field names.
                  b.     Field separator – ASCII character 20
                  c.     Field encapsulate – ASCII character 254
                  d.     New line indicator – ASCII character 174
                  e.     Date format – MM/DD/YYYY (denoting the date of TIFF
                         conversion)
                  f.     Multi-value separator – ASCII characters 59 32 (semi-
                         colon space)


             6.   To the extent that documents have been run through an Optical
                  Character Recognition (OCR) Software in the course of reviewing
                  the documents for production, full text should also be delivered for
                  each document. Text should be delivered on a document level and
                  shall be included in the above mentioned .DAT file and an
                  OCRTEXT field, or, separately in an appropriately formatted text
                  file (.txt) that is named to match the first bates number of the
                  document.


        B.   PRODUCTION OF EMAIL AND ELECTRONIC DOCUMENTS


             1.   Electronic documents should be produced in such fashion as to
                  identify the location (i.e., the network file folder, hard drive, back-
                  up tape or other location) where the documents are stored and,
                  where applicable, the natural person in whose possession they were
                  found (or on whose hardware device they reside or are stored). If
                  the storage location was a file share or work group folder, that
                  should be specified as well.


             2.   Folder path information will be provided where available, but
                  paths will be lost in instances where a user moves a file from their
                  server share drive to the local drive, or where the file was copied to
                  a CD by the user and given to counsel or where an Explorer file



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                  search was used to locate and export a file. These are all
                  anomalies and not standard but they may happen in the instance
                  where only one copy of a file is located. Documents that were
                  collected without the use of search criteria may not include folder
                  path information.


             3.   Attachments, enclosures, and/or exhibits to any parent documents
                  should also be produced and proximately referenced to the
                  respective parent documents containing the attachments,
                  enclosures, and/or exhibits.


             4.   For standard documents, emails, and presentations originating in
                  electronic form, documents should be produced as TIFF images
                  using the same specifications above with the following
                  requirements:


             5.   Provide a delimited text file (.DAT - using the delimiters detailed
                  above) containing the extracted metadata fields listed below. Each
                  field should eb provided so long as the field can be populated by
                  automated means. IF a party becomes aware that certain fields are
                  not able to be populated automatically, the party shall give the
                  opposing party notice that the medatadata field will not be
                  provided in each specific instance. The opposing party may
                  request that the metadata field be populated manually in those
                  instances:

                             o   Beginning Production Number
                             o   Ending Production Number
                             o   Beginning Attachment Range
                             o   Ending Attachment Range
                             o   Custodian
                             o   Original Location Path
                             o   Email Folder Path
                             o   Document Type
                             o   Author
                             o   File Name
                             o   File Size
                             o   MD5 Hash
                             o   Date Last Modified
                             o   Date Created
                             o   Date Last Accessed
                             o   Date Sent
                             o   Date Received
                             o   Recipients


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                                   o   Copyees
                                   o   Blind Copyees
                                   o   Email Subject
                                   o   Path to Native File
                                   o   Has_Dupes


               6.      The parties will de-duplicate custodian data across all custodians.
                       For a given document retained through de-duplication, parties will
                       supply the names of all Custodians whose original data set
                       contained that duplicated document. This will be called
                       HAS_DUPES.


        C.     SPREADSHEETS AND STRUCTURED DATA

               1.      The parties are currently negotiating the form of production of
                       spreadsheets and structured data.

        D.     TIME STANDARDIZATION

               All documents should be processed in Central Standard Time.




V.      CLAIMS OF PRIVILEGE / WORK PRODUCT / TRIAL PREPARATION
        MATERIALS

               The parties are continuing to negotiate the terms of a protective order that will

address confidentiality and privilege issues.

VI.     DISCOVERY LIMITATIONS

               The parties agree to limit depositions to the default rule of ten (7 hour limit)

depositions with the following modifications: (1) one 30(b)(6) deposition for each of the three

defendants shall not count towards this total, (2) expert depositions shall not count towards this

total, and (3) each party shall have the opportunity to depose any witness that the opposing party

puts on its witness list to testify at any evidentiary hearing for a full one day (7 hour limit)

deposition at least 2 weeks in advance of the anticipated testimony.




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 VII.    ADDITIONAL ORDERS

                The parties do not contemplate that the Court should issue any additional orders

 under Rules 26(c) or 16(b) and (c) at this time.



 SO ORDERED
Hello This is a Test                       8/26/11
                                          2/15/05
 The Honorable Jay Zainey




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                                 CERTIFICATE OF SERVICE

I hereby certify that on August 25, 2011 a true and correct copy of the foregoing [Proposed]
JOINT CASE MANAGEMENT ORDER was filed electronically. Notice of this filing will be
sent by email to all parties by the Court’s electronic filing system. Parties may access this filing
through the Court’s CM/ECF System.

Dated: August 25, 2011

                                               /s/______________________
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